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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    STATE OF WASHINGTON, et al.,                        CASE NO. C21-0002-JCC
10                           Plaintiffs,                  MINUTE ORDER
11            v.

12    RUSSELL VOUGHT, et al.,

13                           Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court sua sponte. Plaintiffs recently moved for a
18   preliminary injunction in this matter, for which the Court will hear oral argument January 29,
19   2020. (See Dkt. Nos. 15, 18.) Plaintiffs assert that “the Government intends to bring the
20   propert[y]to market by early 2021.” (Dkt. No. 16 at 3, 16-1 at 169.) In light of the urgency in
21   addressing this matter, the parties are ORDERED to appear for a remote status conference at 10
22   a.m. on January 13, 2021. The parties are DIRECTED to contact the Courtroom Deputy Clerk
23   for remote hearing information. Because this order is being issued before all parties have
24   appeared, Plaintiffs’ counsel is further DIRECTED to deliver a copy of this order to
25   representatives for parties who have not yet appeared within one (1) day of receipt of this order.
26


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 1        DATED this 11th day of January 2021.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Paula McNabb
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                                                 Deputy Clerk
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